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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                        CRIMINAL NO. 09-20238

v.                                             HONORABLE AVERN COHN

D-01, TERRENCE PRITCHETT,

             Defendant.
                                        /


                              ORDER GRANTING BOND

      On February 26, 2010 the Court held a bond review hearing for the defendant. For

the reasons stated on the record,

      IT IS ORDERED that the defendant be released from the custody of the United

States Marshal on Monday, March 01, 2010.

      SO ORDERED.




Dated: February 26, 2010                     S/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, February 26, 2010, by electronic and/or ordinary mail.


                                             S/Julie Owens
                                            Case Manager, (313) 234-5160
